

Matter of Tazkargy (2019 NY Slip Op 07847)





Matter of Tazkargy


2019 NY Slip Op 07847


Decided on October 31, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 31, 2019

PM-190-19

[*1]In the Matter of Ariel Samira Tazkargy, an Attorney. (Attorney Registration No. 5315841.)

Calendar Date: October 28, 2019

Before: Clark, J.P., Mulvey, Devine and Pritzker, JJ.


Ariel Samira Tazkargy, Lawrence, Kansas, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Ariel Samira Tazkargy was admitted to practice by this Court in 2015 and lists a business address in Kansas City, Missouri with the Office of Court Administration. Tazkargy now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Tazkargy's application.
Upon reading Tazkargy's affidavit sworn to August 8, 2019 and filed August 12, 2019, and upon reading the October 17, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Tazkargy is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.Clark, J.P., Mulvey, Devine and Pritzker, JJ., concur.
ORDERED that Ariel Samira Tazkargy's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is furtherORDERED that Ariel Samira Tazkargy's name is hereby stricken from the
roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is furtherORDERED that Ariel Samira Tazkargy
is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Tazkargy is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is furtherORDERED that Ariel Samira Tazkargy
shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.









